      Case 4:11-cr-00165 Document 73 Filed on 06/28/11 in TXSD Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
                       Government,             §
                                               §
VS.                                            §     CRIMINAL NO. H-11-165-3
                                               §
DIN REGINA CHANEY                              §
                                               §
                       Defendant.              §


                                  ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United

States Magistrate Judge Mary Milloy for the purpose of administering the plea of guilty and

the FED.R.CRIM.P. 11 Allocution, subject to the final approval and imposition of sentence

by this Court.

                 SIGNED on June 28, 2011, at Houston, Texas.


                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
